                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        STEVEN HELDT,
                                   7                                                        Case No. 15-cv-01696-JCS
                                                       Plaintiff,
                                   8
                                                  v.                                        REASSIGNMENT ORDER
                                   9
                                        TATA CONSULTANCY SERVICES, LTD,
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13   GOOD CAUSE APPEARING THEREFOR,

                                  14          IT IS ORDERED that this case is reassigned to the Honorable Yvonne Gonzalez Rogers

                                  15   in Oakland division for all further proceedings. Counsel are instructed that all future filings shall

                                  16   bear the initials YGR immediately after the case number. All dates presently scheduled are

                                  17   vacated and motions should be renoticed for hearing before the judge to whom the case has been

                                  18   reassigned. Briefing schedules, including ADR and other deadlines remain unchanged. See Civil

                                  19   L.R. 7-7(d). Matters for which a magistrate judge has already issued a report and recommendation

                                  20   shall not be rebriefed or noticed for hearing before the newly assigned judge; such matters shall

                                  21   proceed in accordance with Fed. R. Civ. P. 72(b).

                                  22          .

                                  23   Dated: 5/15/2015

                                  24                                                         FOR THE EXECUTIVE COMMITTEE:

                                  25                                                        _________________________________
                                                                                            Richard W. Wieking
                                  26                                                        Clerk of Court
                                       A true and correct copy of this order has been served by mail upon any pro se parties.
                                  27

                                  28
